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13   PRIVASYS, INC.
14
15                            UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
16                               SAN FRANCISCO DIVISION

17
     PRIVASYS, INC.
18
                                               Case No. C-08-01072 SI
19                  Plaintiff,
                                               NOTICE OF SETTLEMENT AND
20   v.                                        STIPULATED MOTION TO VACATE
                                               LITIGATION DATES
21   AMERICAN EXPRESS COMPANY and              AND PROPOSED ORDER
     AMERICAN EXPRESS TRAVEL RELATED
22
     SERVICES COMPANY, INC.,
23
                    Defendants.
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     NOTICE OF SETTLEMENT AND STIPULATED                            Case No. C-08-01072 SI
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 1          The parties wish to inform the Court that they have now fully executed a final written

 2   settlement agreement, which requires the parties to dismiss all claims and counterclaims in this

 3   action. Further, pursuant to Civil Local Rules 6-2 and 7-12, Plaintiff PrivaSys, Inc. (“Plaintiff”)

 4   and Defendants American Express Company and American Express Travel Related Services

 5   Company, Inc. (“Defendants”), hereby stipulate through their respective counsel of record as

 6   follows:

 7          WHEREAS the parties informed the Court on August 7, 2008, that they had reached an

 8   agreement in principle to settle this case, and were working on finalizing a final written

 9   agreement;

10          WHEREAS, the parties have now fully executed a final written settlement agreement;

11          WHEREAS, although the final settlement agreement provides for the filing of a

12   stipulated motion to dismiss this case in its entirety, the timing provided by the final agreement

13   is such that the filing of the motion for dismissal may occur as late as September 12, 2008,

14   whereas the deadline for plaintiff’s preliminary infringement contentions is set to occur on

15   September 8, 2008. There is no purpose to filing such contentions, because this case has been

16   settled; and

17          WHEREAS, Pursuant to the final settlement agreement, the parties anticipate that the

18   stipulated motion to dismiss will be filed no later than September 12, 2008.

19          NOW THEREFORE the parties through their undersigned counsel hereby stipulate to,

20   and request the Court to order, that all litigation dates be vacated.

21   IT IS SO STIPULATED

22   DATED: September 3, 2008                               HOSIE RICE LLP

23                                                          By: __/s/ George F. Bishop_____
24                                                                George F. Bishop

25                                                          Attorneys for Plaintiff PrivaSys, Inc.

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     NOTICE OF SETTLEMENT AND STIPULATED               1                            Case No. C-08-01072 SI
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 1   DATED: September 3, 2008                            KIRKLAND AND ELLIS LLP

 2                                                       By: __/s/ Perry Clark____________
 3                                                             Perry Clark

 4                                                       Attorneys for Defendant American Express
                                                         Company and American Express Travel
 5                                                       Related Services Company, Inc.
 6          I hereby attest pursuant to General Order 45.X.B. that concurrence in the electronic
 7   filing of this document has been obtained from the other signatories.
 8   DATED: September 3, 2008

 9                                                       _____/s/ George F. Bishop_______
10                                                              George F. Bishop

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     NOTICE OF SETTLEMENT AND STIPULATED             2                           Case No. C-08-01072 SI
     MOTION TO VACATE LITIGATION DATES
        Case
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 1                                               ORDER
 2
            Pursuant to the stipulation of the parties, it is hereby ORDERED that all litigation dates
 3
     in this case are hereby vacated.
 4

 5
     SO ORDERED
 6                                                  Wm. Alsup for
               8
     September ____, 2008                         _____________________________
 7                                                Honorable Susan Illston
                                                  United States District Judge
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     NOTICE OF SETTLEMENT AND STIPULATED             3                            Case No. C-08-01072 SI
     MOTION TO VACATE LITIGATION DATES
